            Case: 09-27               Document: 13-2       Page: 1        Date Filed: 07/24/2009




                                    United States Court of Appeals
                                                  FIFTH C IR C U IT
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 C H A R LES R . FU LBR U G E III                                                        TEL. 504-310-7700
            C LER K                                                                   600 S. M A ESTR I PLA C E
                                                                                     N EW O R LEA N S, LA 70130




                                              July 24, 2009
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
        No. 09-27 Ralph Crum v. Kent Ries, et al
             USDC No. 08-20297-rlj7

Enclosed is an order entered in this case.



                                                     CHARLES R. FULBRUGE III, Clerk


                                                     By:_________________________
                                                     Rhonda F. Parker, Deputy Clerk
                                                     504-310-7703
Ms.   Tawana C. Marshall
Mr.   Van Wesley Northern
Mr.   Kent David Ries
Mr.   Coleman Young


Motion Notice - MOT2 (!npman)
